     Case 4:05-cr-00024-SPM-WCS           Document 143     Filed 08/16/06   Page 1 of 3




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                             TALLAHASSEE DIVISION

UNITED STATES OF AMERICA,

                     Plaintiff,

v.                                                       CASE NO: 4:05cr24-SPM

FATAI TAIWO, et al,
a/k/a Asa,

                 Defendant.
                                      /

                          PRELIMINARY ORDER OF FORFEITURE

         THIS CAUSE IS before the Court on the motion of the United States of America

for a Preliminary Order Of Forfeiture. Being fully advised in the premises, the Court

finds:

         1.    On May 3, 2005, a Federal Grand Jury sitting in the Northern District of

Florida issued an Indictment against the Defendant.

         2.    The Indictment charged FATAI TAIWO with a violation of Title 18, U.S.C.,

Section 1349.

         3.    The Indictment included a Forfeiture Count, pursuant to Title 18, U.S.C.,

Section 982(a)(2).

         4.    On February 27, 2006, the Defendant entered a guilty plea to conspiracy

to commit bank fraud pursuant to a Plea And Cooperation Agreement in which he

agreed to forfeit all forfeitable assets to the United States of America.
   Case 4:05-cr-00024-SPM-WCS              Document 143       Filed 08/16/06    Page 2 of 3




          As such, Defendant’s interest in the following properties is hereby forfeited:

          A.     $1,259.00 U.S. CURRENCY

          ORDERED, ADJUDGED and DECREED that based on the foregoing, the

Defendant’s interest in the above property is hereby forfeited to the United States

pursuant to the provisions of Title 18 U.S.C., Section 982:

          ORDERED, ADJUDGED and DECREED that in accordance with the law, the

United States shall cause to be published at least once, in a newspaper of general

circulation, notice of this Order, notice of its intent to dispose of the property in such

manner as the Attorney General may direct, and notice that any person, other than the

defendant, having or claiming a legal interest in the aforementioned property must file a

petition with the Court within thirty (30) days of the final publication of the notice or

receipt of actual notice, whichever is earlier. The United States shall:

          1.     State in the notice that the petition shall be for a hearing to adjudicate the

validity of the petitioner's alleged interest in the property, shall be signed by the

petitioner under penalty of perjury, and shall set forth the nature and extent of the

petitioner's right, title and interest in the forfeited property and any additional facts

supporting the petitioner's claim and the relief sought; and

          2.     To the extent practicable, provide direct written notice to any person

known to have an alleged interest in the property that is subject of the Preliminary Order

Of Forfeiture, as a substitute for published notice as to those persons so notified. It is

further




                                                -2-
   Case 4:05-cr-00024-SPM-WCS           Document 143       Filed 08/16/06     Page 3 of 3




       ORDERED, ADJUDGED and DECREED that upon adjudication of all third party

interests, this Court will enter a Final Order in which all interests will be addressed.

       DONE AND ORDERED this 16th day of August , 2006.




                                              s/ Stephan P. Mickle
                                           Stephan P. Mickle
                                           United States District Judge



Case No. 4:05CR24-SPM




                                             -3-
